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Pro Se 6 Rev. 12/16 Com laint for a Civil Case Alie in that the Defendant Owes the Plaintiff a Sum of Money



                                       UNITED STATES DISTRICT COURT                                                             JUL 21        2022
                                                                          for the

                                                            District of - - - - -
                                                                                                                            L    J,
                                                                                                                     Clerk, ,I .Lie'~\ Co~1rt
                                                      -----                                                          B y ~ Dep~1ty Clerk

                                                                - - - - - Division


                                                                                      Case No. 2:22-cv-02285-TC-ADM
                                                                              )
                                                                                                    (to be filled in by the Clerk's Office)
     1\1\o..:cthe,c..v C e.ha..~ .                                            )
                               Plaintiff(s)                                   )
(Write the full name of each plaintiff who is filing this complaint.          )
If the names ofall the plaintiffs cannot.fit in the space above,                     Jury Trial: (check one) 0Yes 0No
                                                                              )
please write "see attached" in the space and attach an additional
page with the fitll list of names.)                                           )
                                 -v-                                          )
                                                                              )
                                                                              )
                                                                              )
                                                                              )
                                                                              )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                              )
names of all the defendants cannot fit in the space above, please             )
write "see attached" in the space and attach an additional page               )
with the fi1ll list ofnames.)



                           COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
                             DEFENDANT OWES PLAINTIFF A SUM OF MONEY
                                                 (28 U.S.C. § 1332; Diversity of Citizenship)


I.        The Parties to This Complaint
          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name                                  M,4.cth e;.u c.,.      C,J,a_v~ .
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address


          B.        The Defendant(s)

                    Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if !mown). Attach additional pages if needed.

                                                                                                                                                     Page 1 of 6
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                     Defendant No. 1
                                Name
                                Jqb or Title (if !mown)
                                Street Address                         ( l 5 :f'ouv±V:i            9:>±
                                City and County
                                State and Zip Code                    l'Y\..o ee   ~   -z o
                                Telephone Number
                                E-mail Address (if/mown)


                     Defendant No. 2
                                Name
                                Job or Title (if !mown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if/mown)


                     Defendant No. 3
                                Name
                                Job or Title (if !mown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if/mown)


                     Defendant No. 4
                                Name
                                Job or Title (if !mown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if/mown)




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II.        Basis for Jurisdiction

          Federal courts are courts oflimitedjurisdiction (limited power). Under 28 U.S.C. § 1332, fe~eral comts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

           A.         The Plaintiff(s)

                      1.         If the plaintiff is an individual
                                 TI1e plaintiff, (name)                                                                   , is a citizen of the
                                 State of (name)           ML6$C,w\..1


                      2.         If the plaintiff is a corporation
                                 The plaintiff, (name)                                                                         , is incorporated
                                                                 --------------------
                                 imder the laws of the State of (name)
                                 and has its principal place of business in the State of (na;ne).f\\



                      (If more than one plaintiff is named in the complaint, attach an additional page providing the
                      same information for each additional plaintiff.)

           B.         The Defendant(s)

                      1.         If the defendant is an individual
                                 TI1e defendant, (name)                                                                        , is a citizen of
                                                                 --------------------
                                 the State of (name)                                                                        0 r is a citizen of
                                  (foreign nation)



                      2.         If the defendant is a corporation
                                 The defendant, (name)             -Re.aJL"\>~ ~ s                                        , is incorporated under
                                 the laws of the State of (name) _l'v\.~=L~-;,,c..:>=Gvvl<>=-,.._-_ _ _ _ _ _ _ _ _ _ _ _ _ _ , and has its
                                 principal place of business in the State of (name)                       ,
                                                                                                  ~\V\.\.~s.~~=GVY\~~-----------
                                 Or is incorporated under the laws             of (foreign nation)
                                 and has its principal place of business in (,1ame)                   c..v ln.-nl-y\<2_
                                                                                                    --~~~------------

                      (If more than one defendant is named in the complaint, attach an additional page providing the
                      same information for each additional defendant.)

           C.         The Amount in Controversy

                      The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                      stake-is more than $75,000, not counting interest and costs of court, because (explain):


                                                                                                                                           Page 3 of 6
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III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim js asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          TI1e defendant, (name)                                                                                          , owes the plaintiff (specify the
                                        ---------------------
          amount)$                               , because (use one or more of the following, as appropriate):


           A.         On a Promissory Note
                      On (date)                              , the defendant signed and delivered a note promising to pay the plaintiff
                                   --------
                      011 (date)                             the sum of (specify the amount) $                    ,\.i,                 with interest at the rate
                      of (specify the amount)                              percent. The defendant has not paid the amount due and owes
                      (state the a~iount of unpaid principal and interest) $                                 . A copy of the note is attached as an
                     exhibit or is sutmnarized below. (Attach the note or summarize what the document says.)




           B.         On an Account Between the Parties
                      TI1e defendant owes the plaintiff (specify the amount) $                                                 . TI1is debt arises from an
                      account between the parties, based on (state the basis, such as an agreement between a credit-card company and a
                      credit-card holdel')




                     The plaintiff sent the defendant a statement of the account listing the transactions over a certain period
                      and showing the bills sent, the payments received or credits approved, and the balance due. TI1e
                     defendant owes (specify the amount) $                                    . Copies of the bills or account statements are
                     attached as exhibits or smnmarized below. (Attach the statements or summar'ize what they say)




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           C.            For Goods Sold and Delivered
                         The defendant owes the plaintiff (specify the amount) $                                                           , for goods $Old and delivered
                                                                                                           --------
                         by the plaintiff to the defendant from (date)                                                    to (date)


           D.            For Money Loaned
                         The defendant owes the plaintiff (specify the amount) $                                                           , for money the plaintiff loaned
                         the defendant on (date)


           E.            For Money Paid by Mistake
                         The defendant owes the plaintiff (specify the amount) $ ________ for money paid by mistake to
                         the defendant on (date) _ _ _ _ _ _ _ _ , when the defendant received the payment from (specify who
                                                                                                                                   t
                         paid and describe the circumstances of the payment)                                                     r-c




           F.            For Money Had and Received
                         The defendant was paid money (specify the amount) $                                                               on (date)                           by
                         (Identify who paid and describe the circumstances of the payment)




                         It is unjust for the defendant not to pay the plaintiff the money received because (explain the reason, such as
                         that the money was intended to be paid to the plaintiff, or was paid by coercion, duress, orfi·aud, or was an overpayment or a

                         deposit to be returned)




IV.        Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. hlclude any basis for claiming that the wrongs alleged are continuing at the present time. hlclude
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           pm1itive money damages. 1' Re..\'\.°' o..n A,-po..~~r.::t: 4-,.;-c,yy\ f?eo-R.. 'Pv-C{~ &ouf>S and- :t ~a:.ue. t:t. •

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             ~ ") LCM..>L.,.        13c:t.oc.   ~ I w-~ u,,i.--tt, a... ">'(\' -1o !3.4z:t.1¥J.. a.v-.ol-~ CA-.v.a.                           ..,.   H::. lLS" ~ ~ c;.,. dc4.ICL.LK-
                C..... l""\.o-. - ~ \=&-\.:¼YI.Ce.. --\t:> --1-h.a.. ·:p«...C1..V1.5 (...:t; ·I~ ..t F.:\..u. il_, J: '~ ~... c...4..u.cJ_.




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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
          no~friv?lous argument ~or ext~nding, m~dify~ng, or r~ve:sing existing_ la'.'\,74(3) the factual contentions have
          ev1dentiary support or, if specifically so identified, will hkely have evident1ary support after a reasonable
          opportimity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I imderstand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff
                                                            1Vi..f1. ttiv u1   C. Ckt2c cdlQ .

          B.         For Attorneys

                     Date of signing:


                   · Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Nan1e of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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